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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION


CURTIS GIOVANNI FLOWERS                                                                    PLAINTIFF

VS.                                                  CIVIL NO. 4:21CV00110-NBB-JMV

DOUG EVANS, ET AL.                                                                     DEFENDANTS

                             ORDER STAYING CERTAIN PROCEEDINGS


        This case is before the Court pursuant to L.U.CIV.R. 16(b)(3)(B). Rule 16(b)(3)(B) provides:

        [f]iling a motion to compel arbitration, or a motion asserting an immunity defense or
        jurisdictional defense stays the attorney conference and disclosure requirements and all
        discovery, pending the court’s ruling on the motion, including any appeal. Whether to
        permit discovery on issues related to the motion and whether to permit any portion of the
        case to proceed pending resolution of the motion are decisions committed to the discretion
        of the court, upon a motion by any party seeking relief.

        On October 21, 2021, Defendant Doug Evans filed a motion [7] to dismiss based in part

on an immunity defense. Accordingly, all proceedings enumerated in Rule 16(b)(3)(B) are

STAYED, pending a ruling on the immunity motion. If a party desires that any stayed portion of

the case be allowed to proceed, it must file a motion requesting same within fourteen (14) days

of the date of this order.

        SO ORDERED this 21st day of October, 2021.


                                                         /s/ Jane M. Virden
                                                         U.S. Magistrate Judge
